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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
JAM/MEM/MG                                            271 Cadman Plaza East
F. #2017R00509                                        Brooklyn, New York 11201



                                                      January 16, 2024

By E-Mail and ECF

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                Re:    United States v. Karl Jordan, Jr., et al.
                       Criminal Docket No. 20-CR-305 (S-2) (LDH)

Dear Counsel:

                Please find uploaded to USAfx additional exhibits that the government may use in
its case-in-chief during the upcoming trial in the above-referenced case.1 The government will
update the enclosed exhibit list if, as, and when it learns of additional and/or substitute exhibits.



       1
               Unless otherwise directed by the Court, the government expects to provide the
exhibits, as well as 3500 material, to the Court on January 18, 2024—which is after the pretrial
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              The exhibits have been marked “Sensitive” per the parties’ agreement,
memorialized by email on December 14, 2023, to treat all exhibits as “Sensitive” under the
Protective Order issued on September 17, 2020 (ECF No. 22).2

               The government continues to request exhibits from the defendants.

                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:               /s/
                                                     Artie McConnell
                                                     Mark E. Misorek
                                                     Miranda Gonzalez
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000


cc:    Clerk of the Court (LDH) (without enclosures)




conference scheduled for January 17, 2024, but prior to the start of jury selection on January 22,
2024. See Individual Practice VII.C.
       2
                Per the Protective Order, where defense counsel wish to attach any portion of the
Sensitive material to public filings made with the Court, defense counsel “must provide advance
notice to the government and make application to the Court for authorization to make such
disclosure, and such notice must be given sufficiently in advance of the contemplated application
so as to permit briefing and argument on the propriety of such disclosure.” ECF No. 22 ¶ 6
(emphasis added). This requirement also applies when defense counsel wish to “disclose any
portion of” the Sensitive material, or “information derived from” the Sensitive material, in public
filings made with the Court. Id. ¶ 5.

                                                 2
